                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                           DOCKET NO. 3:16-cr-00013-MOC-DCK

 UNITED STATES OF AMERICA,                     )
                                               )
                                               )
                                               )
 Vs.                                           )                    ORDER
                                               )
 QUANARD HARRISON,                             )
                                               )
                  Defendant.                   )



       THIS MATTER is before the court on defendant’s Motion for Temporary Transportation

for Funeral or Bereavement Leave. Having considered defendant’s motion and reviewed the

pleadings, the court enters the following Order.

                                          ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion for Temporary

Transportation for Funeral or Bereavement Leave (#149) is DENIED.


 Signed: February 19, 2016




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